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                  EXHIBIT A
Squitieri & Fearon LLP and Moore Kuehn PLLC File Class Action Sui...   https://www.prnewswire.com/news-releases/squitieri--fearon-llp-and-m...
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         Squitieri & Fearon LLP and Moore
         Kuehn PLLC File Class Action Suit
         Against BlockFi, Inc. founder Zac
         Prince, et al.




         NEWS PROVIDED BY
         Moore Kuehn, PLLC 
         Mar 01, 2023, 01:38 ET




         NEW YORK, March 1, 2023 /PRNewswire/ -- Squitieri & Fearon LLP and Moore Kuehn PLLC today
         �led a class action to represent stockholders of BlockFi, Inc. ("BlockFi") who purchased their
         BlockFi unregistered BlockFi Interest Accounts ("BIAs") between March 4, 2019 and November
         10, 2022 (the "Class Period").


         This class action was �led in the District of New Jersey captioned Trey Greene, Individually and
         on Behalf of All Others Similarly Situated v. Zac Prince, et al., Case No. 2:23-cv-01165 ("the
         BlockFi action").


         The Private Securities Litigation Reform Act of 1995 permits any investor who purchased
         BIAs during the Class Period to seek lead plaintiff in the BlockFi class action lawsuit. A lead
         plaintiff is generally the movant with the greatest �nancial interest in the relief sought by the
         putative class who is also typical and adequate of the putative class. A lead plaintiff acts on
         behalf of all other class members in directing the BlockFi action.
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         The lead plaintiff can select their law �rm to litigate the BlockFi action. An investor's ability to
         share in potential future recovery of the BlockFi action is independent upon serving as lead
         plaintiff. If you seek lead plaintiff in the BlockFi action, you must move the Court no later than
         60 days from February 28, 2023. If you wish to discuss the BlockFi action or have questions
         concerning this notice, please contact plaintiff's counsel, Lee Squitieri of Squitieri & Fearon LLP
         at (212) 421-6492 or via e-mail at lee@sfclasslaw.com or Fletcher Moore of Moore Kuehn PLLC at
         (212) 709-8245 or via e-mail at fmoore@moorekuehn.com


         The BlockFi action charges BlockFi of�cers with violations of securities laws. The complaint
         alleges class members were sold unregistered securities by the crypto company BlockFi, Inc., a
         company controlled by Defendants Zac Prince, Flori Marquez, Tony Laura, and Jennifer Hill
         (collectively "BFI Defendants"). The unregistered securities sold by the BFI Defendants were
         marketed and sold via misrepresentations and material omissions over several years and
         through intermittent misrepresentations by Defendant Gemini Trading LLC.


         Prince's and Marquez's misrepresentations about BlockFi started to unravel when, among
         other things, California's �nancial regulator revoked BlockFi's lending license for failure to
         comply with California loan underwriting standards concerning the creditworthiness of
         borrowers and their ability to repay loans. Thereafter, additional disclosures established the
         extent and materiality of Prince and Marquez' misrepresentations during the Class Period.


         Squitieri & Fearon represents investors in securities litigation. Squitieri & Fearon attorneys are
         consistently recognized by courts, organizations and the media as leading lawyers in the
         industry. Please visit http://www.sfclasslaw.com.


         Contact:


         Squitieri & Fearon
         Lee Squitieri (212) 421-6492
         lee@sfclasslaw.com


         or

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         SOURCE Moore Kuehn, PLLC




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